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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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10          LINDA SCHUMACHER, et al.,                        CASE NO. C18-5535 MJP

11                                 Plaintiffs,               ORDER DENYING STIPULATED
                                                             MOTION FOR AN EXTENSION OF
12                  v.                                       TIME

13          JAY R. INSLEE, et al.,

14                                 Defendants.

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16          The Court, having received and reviewed the Stipulated Motion to Extend Class

17   Discovery Deadlines (Dkt. No. 61), makes the following findings:

18          The motion provides no explanation whatsoever as to what remains to be done and this

19   case is several years old. Further, the Parties have been aware of the Court’s deadlines for

20   months. The Parties do not show good cause to amend the case schedule, and the Court declines

21   to make amendments on this record.

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     ORDER DENYING STIPULATED MOTION FOR AN EXTENSION OF TIME - 1
              Case 3:18-cv-05535-MJP Document 62 Filed 10/02/20 Page 2 of 2




 1          Therefore, IT IS ORDERED that the request to amend the existing case schedule is

 2   DENIED without prejudice to bring a renewed motion which cures the defects noted above and

 3   outlines a plan for meeting the revised deadlines.

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 5          The clerk is ordered to provide copies of this order to all counsel.

 6          Dated October 2, 2020.



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                                                          Marsha J. Pechman
 9                                                        United States Senior District Judge

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     ORDER DENYING STIPULATED MOTION FOR AN EXTENSION OF TIME - 2
